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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X
BISNOW LLC,                                                                    Case No. 20-cv-3441

                                        Plaintiff,
                                                                               COMPLAINT
                    – against –

THOMAS LOPEZ-PIERRE,                                                           JURY TRIAL DEMANDED

                                        Defendant.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

          Plaintiff BISNOW LLC (“Plaintiff” or “Bisnow”), by its attorneys, Judd Burstein, P.C., as

and for its Complaint against Defendant THOMAS LOPEZ-PIERRE (“Defendant” or “Lopez-

Pierre”), alleges as follows:

                                            NATURE OF THE ACTION

          1.        Over the past six months, Defendant Lopez-Pierre has been seeking to extort Plaintiff

Bisnow into meeting his financial and other demands by, in his own words, “go[ing] after its

economics” and “kill[ing] the brand.” His outrageous tactics have included:

                    a.        Threatening paying-sponsors of events produced by Bisnow that, unless they

                              withdrew their sponsorships of those events, “[o]ur protestors will visit the

                              corporate offices, homes and houses of worship of the speakers and

                              sponsors of real estate event producers and yell that ‘XYZ’ person

                              and/or firm is RACIST and SEXIST, until NYPD Officers arrive and

                              drag them out kicking and screaming (which will be recorded on

                              cellphones for social media).” (Emphasis supplied); and

                    b.        Also threatening those sponsors that
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                               we plan to buy tickets for recently incarcerated Black and
                               Hispanic men to attend [their Bisnow] events, in order to
                               disrupt and hold up banners (“XYZ White Real Estate
                               Professional Or Firm Is RACIST Against Black and Hispanic
                               Real Estate Professionals”)....

                               Trust me you will just love the video of police officers
                               dragging a group of kicking and screaming recently
                               incarcerated Black and Hispanic men out of [their] events
                               for protesting the lack of Black, Hispanic, Asian, and Women
                               speakers.

                       (Emphasis in original).1

       2.      Lopez-Pierre’s effort to extort Bisnow is not an isolated criminal endeavor. Rather,

he is a one-man crime wave who, through the use of a web of actual and fictitious entities, has been

engaged in an ongoing, multi-year pattern of racketeering; one which includes (a) similar efforts to

extort other companies and individuals engaged in the real estate industry; (b) securing campaign

contributions by fraud; (c) defrauding the New York City Campaign Finance Board; (d) fraudulently

evading his court-ordered child support obligations; (e) seeking investments in a private equity fund

by falsely claiming that it is operational; and (f) seeking contributions for a non-existent political

action committee.

       3.      As detailed in this Complaint, Bisnow has done nothing wrong, and Lopez-

Pierre’s accusations are false. Bisnow has never engaged in any racist or sexist, much less

discriminatory conduct, and well before Lopez-Pierre commenced his extortion scheme, it had

already been taking actions in furtherance of its commitment to increasing diversity in its business.



       1
               We have not corrected the many grammatical and spelling errors that appear
throughout Defendant’s writings, but rather have presented them verbatim. The use of the term “sic”
should be deemed to apply to every such error in the communications from Defendant to Plaintiff
(and others) quoted in this Complaint.

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Bisnow therefore has no concerns about subjecting itself to the public scrutiny that this lawsuit will

bring. So, rather than taking the path of least resistance by paying Lopez-Pierre off, Bisnow has

instead brought this action.

                                  JURISDICTION AND VENUE

       4.        This Court has subject matter jurisdiction pursuant to 18 U.S.C. § 1964(c) and 28

U.S.C. § 1331.

       5.        Venue lies in this District pursuant to 28 U.S.C. §§ 1391(b)(1) and (2), as well as 18

U.S.C. § 1965(a).

                                              PARTIES

       6.        Plaintiff Bisnow is a limited liability company organized under the laws of the

District of Columbia. Some of its limited partners are citizens of the State of New York.

       7.        Bisnow is the largest commercial real estate news and events media platform in the

world. Every year, Bisnow puts on more than 300 professional events in dozens of cities across

North America and Europe. These events feature a diverse array of business leaders and experts

from all facets of the commercial real estate industry. As a media outlet, Bisnow provides

high-quality, daily content about the commercial real estate industry to both professionals and the

public. Through the brand “SelectLeaders,” Bisnow also operates the largest real estate jobs

platform in the world.

       8.        On information and belief, Defendant Lopez-Pierre is a citizen of the State of New

York. He masquerades as both a successful real estate broker/entrepreneur and a concerned activist

seeking to combat racism and sexism, as well increase both opportunity and diversity in the real




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estate industry. In truth, he advocates for and cares about just one person: himself. Even a cursory

review of publicly available information about Lopez-Pierre confirms this fact:

               a.      He has posted videos online in which he asserts that he is the managing

                       member of the Harlem Real Estate Fund, LLC (“Harlem Fund”), a purported

                       private equity fund which he claims has funded at least two real estate

                       renovation projects in New York City. Yet, New York City’s ACRIS real

                       property database does not identify even one property in which the

                       purported fund has an interest either as an owner or a lender. On

                       information and belief based in part upon a search of the ACRIS database,

                       these real estate projects are fabrications. Moreover, on his “LinkedIn” page,

                       Lopez-Pierre states that the Harlem Fund is a “New York State Licensed Real

                       Estate Broker.” According to the New York Secretary of State’s website,

                       the Harlem Fund does not hold any type of real estate license;

               b.      His website further claims that he is “a self-employed, NYS Licensed Real

                       Estate Broker with Lopez-Pierre Realty LLC.” But again, according to the

                       New York Secretary of State’s website, neither Lopez-Pierre nor

                       Lopez-Pierre Realty LLC has any type of real estate license;

               c.      His website fraudulently solicits funds for “The Real Estate Diversity PAC:

                       A Political Action Committee Advocating for Racial and Gender Diversity

                       within the Commercial Real Estate Industry in New York, New Jersey and

                       Connecticut” (“Real Estate Diversity PAC”), by falsely characterizing it as

                       a 501(c)(4) organization. However, according to a search of the Internal

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            Revenue Service’s database of tax-exempt organizations, the Real Estate

            Diversity PAC is does not have 501(c)(4) status. Indeed, according to a

            nationwide database search of public records, the Real Estate Diversity PAC

            does not exist. Further, it does not appear to have any public presence other

            than on Lopez-Pierre’s “LinkedIn” page, his website -- which he uses to

            fraudulently secure contributions -- and in the emails he sends in an effort to

            extort Bisnow and other victims;

      d.    He has also fraudulently solicited funds for the Harlem Family Eviction

            Prevention Fund, Inc. (“Harlem Family Eviction”), representing it to be a

            501(c)(3) charitable organization. While Harlem Family Eviction is an actual

            entity, a search of the Internal Revenue Service’s database of tax-exempt

            organizations reveals that it does not have 501(c)(3) status;

      e.    He fraudulently raised money for his failed 2017 City Council campaign

            (“2017 Campaign”) by soliciting campaign contributions from non-supporters

            through a GoFundMe web page entitled “Stop Thomas Lopez-Pierre Hate

            Campaign.” Incredibly, Lopez-Pierre proudly told The New York Post

            that he had intentionally engaged in a “bait and switch” in order to

            obtain money from people who “oppose me.”;

      f.    He stole taxpayer monies in the form of matching funds from the New

            York Campaign Finance Board by, inter alia, (i) minimizing the dollar

            amount of campaign contributions he received so as to obtain matching funds




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            to which the 2017 Campaign was not entitled, and (ii) using campaign funds

            for personal expenses;

      g.    Notwithstanding his false claims that he advocates for racial equality and

            non-discrimination through the Real Estate Diversity PAC, Lopez-Pierre is

            a virulent bigot:

            (i)     During his failed 2017 Campaign, he accused “greedy Jewish

                    landlords” in New York City of engaging in an “ethnic cleansing”

                    and “Housing Holocaust” by pursuing a “‘Final Solution’ to push

                    out Black and Hispanic tenants.”;

            (ii)    In 2012, during another one of his failed campaigns for the City

                    Council, he castigated “dumb black politicians for letting

                    Dominican people gain control of Harlem.”;

            (iii)   In 1999, he criticized Manhattan businesses for hiring “Arab”

                    and Indian employees instead of black and Hispanic people.

            Lopez-Pierre’s bigotry is relevant to this litigation because it evidences that

            his motive in attacking Bisnow is not some misguided sense of social justice;

      h.    He has falsely accused Bisnow of sexism (in addition to racism) even though

            he is blatantly sexist and abusive towards women:

            (i)     In one of his many short-lived business ventures, Lopez-Pierre

                    operated a members-only singles club called the “Harlem Club.”

                    According to The New York Times, he “deleted the e-mail

                    applications of overweight women,” and refused to consider

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                    applications from women who were not “35 or younger, ...

                    childless ... and willing to submit a head-to-toe photograph, to

                    prevent unattractive women from making the cut.” When asked

                    to explain the age-limit of 35, he responded: “A lot of these

                    women are in their early 40’s, and their good-looking days are

                    over.”;

            (ii)    In 2016, he pled guilty to second-degree attempted criminal contempt.

                    According to media reports, he was charged with criminal contempt

                    for violating an order of protection his ex-wife (and mother of his

                    three children) had obtained against him. In the face of the order of

                    protection, Lopez-Pierre allegedly approached her and said

                    “Don’t fu*k with me, bitch!”;

            (iii)   In August 2013, a New York assemblywoman accused Lopez-Pierre

                    of groping her buttocks, alleging that he said, “Oh, this is turning me

                    on!”      In denying the allegation, Lopez-Pierre called the

                    assemblywoman a “$20 political slut” and claimed that she had

                    rubbed “her nasty fat ass” against his body; and

      i.    According to New York State records, he is a “deadbeat dad” who has

            failed to pay child support. During a February 2020 meeting which,

            unbeknownst to him, was tape-recorded, he confirmed that he hides his assets

            to avoid meeting his child support obligations: “I have an ex-wife, so I don’t

            need to pay more in child support, so nothing will ever be in my name.

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                      Like I said, I make sure I stay judgment-proof. I am poor. If you don’t

                      believe me, ask my ex-wife....”

       9.      As Tennessee Williams once noted: “The only thing worse than a liar is a liar that’s

also a hypocrite!” That is a perfect description of Lopez-Pierre.

                        PLAINTIFF’S FIRST CLAIM FOR RELIEF

                      (Racketeering in Violation of 18 U.S.C. § 1962(c))

I.     THE RICO ENTERPRISE

       10.     Lopez-Pierre operates and controls the “TLP Enterprise,” an association-in-fact RICO

Enterprise as that term is defined by 18 U.S.C. § 1961(4). The members of the TLP Enterprise

include:

               a.     Lopez-Pierre;

               b.     The Harlem Fund, a limited liability company organized under the laws of the

                      State of New York;

               c.     Lopez-Pierre Realty LLC (“Realty LLC”), a limited liability company

                      organized under the laws of the State of New York;

               d.     Harlem Family Eviction, which has been organized under the laws of the

                      State of New York as a not-for-profit corporation; and

               e.     The Committee to Elect Thomas Lopez-Pierre (“2017 Election Committee”),

                      an entity through which Lopez-Pierre raised funds for the 2017 Campaign.

                      The 2017 Election Committee was registered with the New York City and

                      New York State Boards of Elections, assigned an EIN by the Internal

                      Revenue Service, and maintained a bank account.


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       11.     The members of the TLP Enterprise have associated with each other, and have

functioned for at least the past three years as a continuing unit with the common purpose of enriching

Lopez-Pierre. Further, during a tape-recorded meeting with Bisnow executives on February 20,

2020, Lopez-Pierre stated:

       If you looked at my website you notice that I have the private equity fund, I have
       Lopez-Pierre news, which is, I want to copy a little bit like Bisnow. I have the events
       part, um, I have the political action committee, and then I have the private club. And
       so next year, we’re going to be opening a private club that’s like a Harvard/Yale club.
       My name will be on none of the documents; I’ll own nothing, um, and, which is very
       specific, I have an ex-wife, so I don’t need to pay more in child support, so nothing
       will ever be in my name. Like I said, I make sure I stay judgment-proof. I am poor.
       If you don’t believe me, ask my ex-wife, she’ll be happy to tell you. Um, and, so,
       everything is interchangeable....

II.    LOPEZ-PIERRE’S MANAGEMENT AND CONTROL OF THE TLP ENTERPRISE

       12.     At all times relevant to this Complaint, Lopez-Pierre has managed and controlled the

TLP Enterprise by reason of the following:

               a.      He has publicly stated that he is (i) the managing member of the Harlem Fund

                       and Realty LLC, and (ii) the Chairperson of Harlem Family Eviction;

               b.      He controlled the 2017 Election Committee’s bank account and financial

                       operations. For example, according to the testimony of the Committee’s

                       treasurer before the New York City Campaign Finance Board (“NYCFB”),

                       Lopez-Pierre personally withdrew cash from the Committee’s bank account

                       without her involvement; and

               c.      Lopez-Pierre’s apartment residence, located at 927 Columbus Avenue, Apt.

                       5S, New York, New York 10025, also serves as the offices for the Harlem




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                     Fund, Realty LLC, Harlem Family Eviction, and the 2017 Election

                     Committee.

III.    LOPEZ-PIERRE HAS ENGAGED IN RACKETEERING ACTIVITY

        13.   Lopez-Pierre has engaged in “racketeering activity,” as that term is defined by 18

U.S.C. § 1961(1), by committing the following crimes:

              a.     As briefly summarized above, and discussed in detail below, Interference

                     with Commerce by Threats or Violence against Bisnow, its event sponsors,

                     and its event speakers in violation of 18 U.S.C. § 1951;

              b.     Also in violation of § 1951, similar extortions directed at Bisnow’s

                     competitors;

              c.     In violation of New York Penal Law § 180.03, bribery of an employee of an

                     unnamed New York real estate firm in return for disclosing confidential

                     information about its executives;

              d.     In violation of 18 U.S.C. § 1343, engaging in a wire fraud scheme pursuant

                     to which he obtained contributions from people who did not support Lopez-

                     Pierre’s candidacy for New York City Counsel through a GoFundMe

                     campaign which fraudulently represented that the contributions would be

                     used to defeat Lopez-Pierre’s candidacy; and

              e.     In violation of 18 U.S.C. § 1343, engaging in a wire fraud scheme by

                     soliciting and receiving contributions for the Real Estate Diversity PAC

                     based upon false representations that it (a) exists, and (b) is a 501(c)(4) entity.




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       A.      THE ATTEMPTED EXTORTION OF BISNOW

               (i)     Overview of Lopez-Pierre’s Scheme

       14.     Lopez-Pierre has sought to extort Bisnow through a sophisticated effort in which he

pretends that, as an advocate for social justice, he is merely (a) exercising his First Amendment right

both to protest against Bisnow’s and its event sponsors’ racism, and (b) advocate for more diversity

in Bisnow’s conduct of its business. Nothing could be further from the truth.

       15.     In addition to other services it provides, Bisnow produces events at which significant

leaders in the real estate industry participate in public panel forum with the intention of informing

and connecting the commercial real estate industry to do more business. This part of Bisnow’s

business earns money in two ways: (a) it sells tickets to these events, and (b) it is paid fees by real

estate companies in return for the right to serve as a sponsor of the event. A sponsorship is a

valuable asset for Bisnow to sell because it generally provides the sponsor with the right to have one

or more of its executives serve on the panel. Often, there is more than one sponsor of the event and

therefore more than one speaking slot which Bisnow must reserve. Participation on a panel is a

valuable commodity for the sponsor because it increases visibility in the industry and serves as a

significant business development tool.       Hence, Bisnow’s ability to earn a profit by selling

sponsorships is directly tied to its ability to provide those sponsors with the opportunity for one or

more of its executives to participate as an event speaker.

       16.     Lopez-Pierre has been threatening Bisnow with violence and economic harm in an

effort to force Bisnow into guaranteeing that 50% of the speakers on its panels will be people of

color or women, regardless of whether any of these proposed speakers are affiliated with a paying

sponsor.


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       17.     In a secretly (but legally) recorded meeting with Bisnow executives in February of

2020, Lopez-Pierre told them part of what would happen if they did not bend to his threats:

       So that means that when, you know, so and so at so and so law firm speaks at an
       event, a month later we’ll show up at their offices, you know, we’ll get into their
       building somehow. We’re good at it, even if we have to make an appointment for
       something, we’ll get into the building somehow. And then for 2 minutes in the
       lobby, just “Mr. Jones is racist against black people because he speaks at ______
       events.” All we need is 2 minutes and 20 seconds because that’s what Twitter allows
       you to put on. And then they’ll go. It’s all about killing the brand.

       18.     He then arrogantly admitted at the meeting that he was not seeking money directly

from Bisnow because he was being paid by “black professionals” to threaten Bisnow into allowing

them to participate as speakers at Bisnow events so that they could make money from the business

opportunities which flow from those engagements:

       But still, the black professionals are angry. And none of them-- a number of
       them are tired of looking the other way, so they say “we’ll bankroll the
       initiative, but we want our name off it. And we don't even want you telling us
       to know our names, we’ll just-- you tell us where would you like the money,
       where would you like the money.” I don't even know their names. I have one
       contact, but they've already proven that they’re willing to put money down. Because
       I said “Before I move forward, I need to see this amount of money.” Within 24
       hours, that money was delivered. So now I’m on board ‘cause I know they’re
       serious. And the agenda is, then I go to-- ‘cause I ran for city council so I have grass-
       roots relationships in public housing and I went to them and said “listen, how much
       you need to get paid to go to a real estate-related event and hang up a banner? I just
       need you to do it for 3 minutes ‘cause I need to get it on YouTube, and just say
       ‘______ is racist, ______ is racist against black people’ ‘cause they want, you
       probably won’t get arrested, but if you do, let them drag you kicking and screaming.
       New York no longer has bail, so you'll be out within-- and you’ll get paid 3-400
       dollars, cash. They go “my ni**a yo, I’ll do that shit in a minute. Tell me my boy,
       when can we do that?”

                                                ***

       And, here’s the important part. Well, there’s 2 things that are-- this part is really
       important. Well one is, I never touch the money. So the real estate diversity PAC,
       it’ll have very little money in there ‘cause none of the money comes from there.


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       Because somebody could-- some judge could seize that money. It’ll always be cash,
       it’ll always be other parties. I will never touch the money. The second thing is, you
       will never, ever, be asked for money. Not to donate to a not-for-profit, not to give
       us money to go away. It’s not gonna be a Nike kind of situation, never. We don’t
       want your money. Freedom has to be paid for. That’s the message. You black folks
       in commercial real estate, you want the benefit of this? You have to pay for it.
       And they’re willing to pay for it, they are paying for it. They get the benefit....
       The bourgeoisie negro gets to be on your panels....

                                               ***

       The win for them is that their phone will be ringing, and you’ll call them and
       ask them to be on their panel. Or a vice president at one firm will get recruited to
       become an executive vice president at another firm because they have a diversity
       problem. And they get to [clapping sound] wash their hands. You guys know the
       book “The 48 Laws of Power”? C’mon, you’re a lawyer and you don’t know that
       book? It’s like the devil’s book. The 48 Laws of Power. It’s like 48 laws of
       exercising power, and one of them is “don’t get your hands dirty when you
       commit an act, get a proxy to do it.” So I’m the pawn, I’m the proxy. And so
       they get to keep their hands clean, all they have to do is keep the money flowing.

(Emphasis supplied)

       19.     He also unmistakably, albeit in a thinly-veiled manner, threatened the Bisnow

executives with physical harm by telling them, for no other apparent reason, that he and his brother

had once beaten some boys senseless with liquor bottles:

       [W]hat they didn’t see was the bottle of-- you don’t know this, but a bottle of
       Boone’s Farm, that was like malt liquor back then, I had a bottle of Boone’s Farm in
       me and I crashed it over the guy’s head. And my brother hit the guy with a bottle of
       Red Irish Rose. We hit the biggest kid first and then one of them ran. And then all
       we did was stomp these kids, and we like banging ‘em, bangin ‘em, kickin ‘em,
       beaten ‘em, blood all over us.... And then we took off the shirts and ran back to
       Bushwick, Brooklyn where we lived. And when I look back on that, I say stup--
       suppose that kid’s throat woulda got slashed, suppose his head would have hit the
       side walk. There’s some person now, who got, guy took one punch, hit him once, hit
       his head the ground, brain dead, died.




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         20.    In addition, Lopez-Pierre sought to convince Bisnow that it had no means of fighting

back against him with litigation because, notwithstanding the fact that he was being paid “very well”

to extort Bisnow, he fraudulently hides his assets so as to be judgment-proof:

         I’m being compensated very well to be an a**hole. And one of the reasons I was
         selected, ... is that I’m judgment-proof. What it means is that even if you file a
         lawsuit or whatever, whatever, I have no assets with my name on it that anybody can
         attach * * * I never touch the money. So the real estate diversity PAC, it’ll have very
         little money in there ‘cause none of the money comes from there. Because somebody
         could – some judge could seize that money. * * * I will never touch the money.

                                                 ***

         My name will be on none of the documents; I will own nothing, um, and, which is
         very specific, I have an ex-wife, so I don’t need to pay more in child support, so
         nothing will ever be in my name. Like I said, I make sure I stay judgment-proof. I
         am poor. If you don’t believe me, ask my ex-wife * * * [E]verything is
         interchangeable, so the PAC supports our business interests, the fund supports its
         business....

         21.    In sum, Lopez-Pierre is seeking to extort Bisnow into giving up its valuable and

transferable right to use event speaking opportunities as a means of selling event sponsorships.

                (ii)    The Details of Lopez-Pierre’s Extortion Scheme

         22.    In the summer of 2019, Lopez-Pierre started including Bisnow executives on various

mass emails in which he accused at least one member of the New York real estate industry of racial

discrimination against “Black and Hispanic real estate professionals.”

         23.    On October 4, 2019, Bisnow executives received a mass email from Lopez-Pierre

announcing that he was planning to create the Realty Diversity PAC which, as yet, did not have a

name.

         I, Thomas Lopez-Pierre am going to establish a 501(c)(4) political action committee
         - PAC (name to be announced) to raise money to launch a social media and
         grassroots-boots-on-the-ground campaign to advocate (with direct action protests at


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          corporate offices) for racial and gender diversity, equity and inclusion with regard to
          hiring and leadership within the real estate industry in New York, New Jersey and
          Connecticut.

          24.    By October 10, 2019, Lopez-Pierre had announced that the Real Estate Diversity PAC

was operational by sending out a mass email to “17,312 Black and Hispanic Professionals (and about

1,000 Members of the Media and White Real Estate Professionals),” which included some Bisnow

executives. The email was sent from a newly-created “info@realestatediversitypac.org” email

address using a domain that had been registered on October 8, 2019. The email included an “Open

Letter” to a member of the real estate community, stating, inter alia:

          The Real Estate Diversity PAC is going to launch a year-long
          grassroots-boots-on-the-ground-direct-action-protest-campaign against your firm:
          ______________ for being RACIST against Black, Hispanic and Asian people
          and Sexist against women.

          My name is Thomas Lopez-Pierre and I am the Treasurer of The Real Estate
          Diversity PAC.

          The Real Estate Diversity PAC will target your corporate office, home and
          house of worship and the homes and houses of worship of the senior executives
          at your firm....

(Emphasis in original). In fact, the “Real Estate Diversity PAC” did not exist.

          25.    On October 11, 2019, Bisnow received an email from Lopez-Pierre informing it that,

prior to the formation of the Real Estate Diversity PAC, he had forced one of Bisnow’s competitors

to name him as the “Co-Chairperson of their Diversity Advisory Board.” As explained by Lopez-

Pierre:

           I made the strategic decision NOT to publicly target [ ], the event producer BUT
          their title sponsor (always go after the money - smile) via Twitter and email (see
          tweet below): International commercial real estate firm [ ].




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       And within days of my online social media and email protest campaign that included
       a promise to launch a grassroots-boots-on-the-ground organizing campaign at the
       corporate New York Offices of [ ], the company pulled out of their role as titled
       sponsor of the New York Multi-family Summit.

                                              ***

       Now that I, Thomas Lopez-Pierre had Green Pearl’s attention (smile), I accepted
       their “generous” offer to have me serve as the Co-Chairperson of their Diversity
       Advisory Board for their upcoming New York Multi-Family Summit.

(Emphasis in original).

       26.     On November 11, 2019, Lopez-Pierre started his extortion campaign against Bisnow

by sending identical letters to two planned sponsors of an upcoming Bisnow event which, inter alia,

threatened violence by informing Bisnow that, unless his demands were met, he would “buy tickets

for recently incarcerated Black and Hispanic men to attend [the event] in order to disrupt and

hold up banners....” (Emphasis in original). The letter went on to state:

       Trust me you will just love the video on social media of police officers dragging
       a group of kicking and screaming recently incarcerated Black and Hispanic
       men out of real estate events for protesting the lack of Black, Hispanic, Asian, and
       Women speakers.

                                              ***

       When I am done with your name and that of your firm in social media and direct
       action protests, your professional brand and that of your firm within the commercial
       real estate industry in tri-state New York will stand for [you] are RACIST against
       Black and Hispanic real estate professionals.

       On the other hand, I want to be your new best real estate professional friend!

(Emphasis in Original) This was the same tactic -- threatening its sponsors -- which Lopez-Pierre

had successfully used against one of Bisnow’s competitors.




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       27.     On December 2, 2019, Lopez-Pierre copied Bisnow on a mass email he had sent “[t]o

10,000 Black and Hispanic Professionals (Lawyers, Real Estate, Medical, Finance) and 4,000 White

Real Estate Professionals and the media.” The email threatened that any person or company

participating in a Bisnow event would suffer the following fate: “Our protestors will visit the

corporate offices, homes and houses of worship of the speakers and sponsors ... and yell that

‘XYZ’ person and/or firm is RACIST and SEXIST, until NYPD Officers arrive and drag them

out kicking and screaming (which will be recorded on cellphones for social media).” (Emphasis

supplied).

       28.     Thereafter, Lopez-Pierre sent out similar threatening emails. Faced with these threats

and willing to consider the unlikely possibility that Lopez-Pierre might add value to its ongoing

diversity efforts, Bisnow executives agreed to meet with him on February 20, 2020. The relevant

details concerning that meeting are explained, supra, at ¶¶ 11, 17-20. Suffice it to say, that having

met with him, Bisnow concluded that Lopez-Pierre was a charlatan and decided not to engage with

him further.

       29.     On March 3, 2020, Lopez-Pierre sent a mass email stating, inter alia:

       As of February 23, 2020, The Real Estate Diversity PAC will NO longer engage in
       direct action protests -- we are restructuring ourselves into a research, political
       fundraising and public relations organization.

       The Real Estate Diversity PAC will be tasked with publicizing the names of White
       Real Estate Executives found guilty of “Economic Racism” against Black and
       Hispanic people within the commercial real estate industry (i.e.: protected speech).

       The word on the street is that a new, more radical organization: The Commercial
       Real Estate Intelligence Alliance (CREIA), recently purchased personal data of
       Senior Executives at a major commercial real estate firm (New York):

       1 - home addresses;


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       2 - cell phone numbers with emergency contacts;

       3 - date of births;

       4 - social security numbers;

       5 - compensation reports.

       The Commercial Real Estate Intelligence Alliance (CREIA) operates:

       1 - as a secret intelligence/direct action organization (no website);

       2 - targets White Real Estate Executives without ANY warning;

       3 - uses cash and “other inducements” (such as blackmail and honey trapping ) to
       recruit agents/spies within major commercial real estate firms.

       30.     On information and belief, there is only one member of the CREIA: Lopez-Pierre.

Taking Lopez-Pierre at his word that a bribe was paid, he plainly paid it. While Lopez-Pierre did

not identify the victims of his bribery, the emails were sent in an effort to scare Bisnow and others

that they would suffer fate unless they met Lopez-Pierre’s demands.

       31.     On March 11, 2020, Lopez-Pierre sent a mass email with a subject line stating:

“Coronavirus Inflected Protesters At Commercial Real Estate Events?” It then went on to

assure Bisnow that, on behalf of the Real Estate Diversity PAC, he was “deny[ing] any

involvement with any upcoming plans to send coronavirus inflected protesters” to Bisnow

events. This was an obvious threat communicated in a backhanded way.

       32.     On or about March 20, 2020, Lopez-Pierre started a Real Estate Diversity PAC

Twitter Page, with an address of “@RacistBisnowNYC,” which publicized messages to multiple

planned Bisnow event speakers and sponsors asking why they were involved with Bisnow even

though it is “Sexist towards women and Racist against Black, Hispanic and Asian people....”


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       33.     On April 4, 2020, Lopez-Pierre sent a mass email containing a public letter to the

Managing Partner of Bisnow’s parent threatening that, unless Bisnow’s CEO were fired, the Real

Estate Diversity PAC would “launch ‘non-violent aggressive protest campaigns’ against your

Corporate Sponsors (and at your future industry events)” so that “[i]n less than a year, Bisnow as a

corporate brand will stand for ‘Economic RACISM’ against Black, Hispanic and Asian people and

‘Economic Sexism’ against Women!”

       34.     On April 4, 2020, Lopez-Pierre again sent a mass email containing a threat to one of

Bisnow’s event sponsors that if it “sponsors any future events with Bisnow, your firm and senior

executives WILL BE TARGETED for ‘non-violent aggressive protest campaigns’ (in person and

on social media).”

       35.     On April 6, 2020, Lopez-Pierre sent a similar letter, publicized in a mass email, to

another sponsor of a Bisnow event.

       36.     On April 8, 2020, Lopez sent an email to a number of Bisnow sponsors (copy to

Bisnow) stating that “I do NOT give a FU*K about what White people think of me or being

liked by White people” (emphasis in original), and informing the sponsors that:

       The Real Estate Diversity PAC plans to target Bisnow’s corporate sponsors with
       ‘non-violent aggressive protest campaigns’ (corporate offices, homes and houses
       of worships).

                                               ***

       As you know Bisnow has refused to end their RACIST and SEXIST business
       practice of excluding Black, Hispanic, Asian and Women event speakers.

                                               ***




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       I have the moral high ground and in the end Bisnow will have to end their RACIST
       and SEXIST business practice of excluding Black, Hispanic, Asian and Women
       event speakers.

       The ONLY question is when, I prefer sooner rather than later (smile).

       All The Real Estate Diversity PAC has to do is keep creating “incidents” (online and
       offline) that draws attention (puts the HOT spot light) on Bisnow’s corporate
       sponsors in the same way as Rev. Dr. Martin Luther King, Jr. did during the 1960’s.

(Emphasis in original).

       37.     Also on April 8, 2020, Lopez-Pierre sent out a mass email announcing that the Real

Estate Diversity PAC had declared:

       1 - Boycott of ALL White Male Event Speakers at Bisnow events (online or
       in-person) in Tri-State New York.

       2 - Year-long campaign to get YOU to fire Will Friend as CEO of Bisnow;

       3 - Former gang members will be hired to implement “non-violent aggressive
       protest campaigns” (corporate offices, homes and houses of worships) against those
       White Male Event Speakers that violate the Boycott of Bisnow.

       38.     On April 13, 2020, Lopez-Pierre sent an announced sponsor of a future Bisnow event

an open letter on a mass email, stating:

       Are YOU RACIST against Black and Hispanic people?

       I see that you are advertised to speak on a Bisnow Webinar....

       Please be advised that you and your firm will be subjected to “non-violent aggressive
       protest campaigns” (corporate offices, homes and houses of worships and on social
       media) if you as a White Male Event Speaker violate the Boycott of Bisnow.



       B: If The Real Estate Diversity PAC is unable to locate YOU as the White Male
       Event Speaker that violated the Boycott of Bisnow, [ one ] White Male Senior
       Executive at your firm (senior executives only) will be selected to take your place



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       at being subjected to a “non-violent aggressive protest campaign” (corporate
       offices, homes and houses of worships and on social media).

       You have been warned.

                                              ***

       Cancel your appearance on April 23, 2020 at Bisnow’s online Town Hall event
       - if YOU would like to avoid the unnecessary public relations drama of a
       “non-violent aggressive protest campaign”!

       Over the next 12 months, we plan on targeting as many Bisnow’s corporate
       sponsors and White Male Event Speakers as possible - it does NOT have to be
       your firm.

       You’re paying Bisnow for a “positive branding opportunity”!

       BUT instead, YOU or [ one ] White Male Senior Executive at your firm ... is
       going to be targeted for a “non-violent aggressive protest campaign” (i.e.: video on
       YouTube)....

(Emphasis in original).

       39.      On April 23, 2020, Lopez-Pierre sent a similar open letter by mass email to three

individuals scheduled to speak at a Bisnow event.

       40.      The property which Lopez-Pierre attempted to obtain from Bisnow -- the

commercially valuable right to choose speakers for its panels -- belongs to Bisnow and is

transferable.

       41.      Lopez-Pierre attempted to obtain Bisnow’s property with its consent by wrongful

threats of force and physical violence in the form of his threats, inter alia, to send “recently

incarcerated Black and Hispanic men to attend [Bisnow] events, in order to disrupt” so that police

officers would then need to “drag[] a group of kicking and screaming recently incarcerated Black

and Hispanic men out of [its] events....”



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       42.     Lopez-Pierre also attempted to obtain Bisnow’s property with its consent by

wrongfully inducing fear on the part of Bisnow that it would suffer economic harm -- i.e., that

Bisnow’s business would be destroyed unless it acceded to his demands because he would “go after

its economics” and “kill the brand.”

       43.     The natural consequences of Lopez-Pierre’s conduct as described above affected

commerce because, inter alia, Bisnow presents its media planning events in locations throughout

the world. In addition, New York event sponsorships are sold to companies which conduct business

in numerous states, and its events in New York are marketed to and attended by individuals and

companies from states other than New York.

       B.      EXTORTION OF BISNOW’S COMPETITORS

       44.     On information and belief, the sources of which include the facts alleged in Paragraph

25 above, Lopez-Pierre has also, in violation of 18 U.S.C. § 1951, extorted or attempted to extort

Bisnow’s competitors in the same manner it has sought to extort Bisnow.

       C.      BRIBERY

       45.     On March 3, 2020, as detailed above, Lopez-Pierre stated that the CREIA (actually,

on information and belief, Lopez) had bribed an employee of a “major commercial real estate firm

(New York)” in return for the “personal data of [its] Senior Executives.” On information and belief,

(a) the amount of the bribe exceeded $1,000, and (b) it caused economic harm to the firm and its

executives in an amount exceeding $250. As such, Lopez-Pierre violated New York Penal Law §

180.03, which is a class E felony under New York Law and therefore punishable by imprisonment

for more than one year.




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       D.        WIRE FRAUD IN CONNECTION WITH THE GOFUNDME CAMPAIGN

       46.     In March and/or April 2017, on specific dates peculiarly within Lopez-Perez’s

knowledge, Lopez-Pierre raised funds for his 2017 Campaign through a GoFundMe web page called

“Stop Thomas Lopez-Pierre Hate Campaign” which he had created and maintained.

       47.     On or about April 26, 2017, Lopez-Pierre described the GoFundMe solicitations to

the New York Post as a “bait and switch,” further stating that “I intend to use the money to pay for

my marketing expenses. The people who are doing this oppose me. I thank them for their support.”

       48.     Lopez-Pierre’s statement to the New York Post was an admission that, in violation

of 18 U.S.C. § 1343, he had devised a scheme to obtain money by means of intentionally false

representations. As a result of this scheme, Lopez-Pierre knowingly and intentionally obtained

$5,781 in contributions from individuals whom he knew “opposed” him and were unwittingly

contributing their money to Lopez-Pierre’s 2017 campaign because Lopez-Pierre had intentionally

deceived them.

       49.     It was reasonably foreseeable to Lopez-Pierre that his scheme would be accomplished

through interstate wire transmissions because, on information and belief, the monies contributed to

his GoFundMe campaign were collected by GoFundMe in California, which, after it deducted its

2.9% payment-processing fee on each donation, along with 30 cents for every donation, then sent

the money by wire to Lopez-Pierre in New York.

       E.      WIRE FRAUD IN CONNECTION WITH THE REAL ESTATE DIVERSITY
               PAC

       50.     Commencing on or about October 2019, Lopez-Pierre engaged in a scheme to defraud

by soliciting contributions to the Real Estate Diversity PAC by, inter alia, making the materially



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false representation that it (a) was an actual entity, and (b) was a 501(c)(4) organization --

representations which Lopez-Pierre necessarily knew were false and which were plainly made to

induce contributions by false representations.

       51.     Lopez-Pierre engaged in multiple violations of 18 U.S.C. § 1343 on at least the

following dates:

               a.     On October 10, 2019, he sent out a mass email soliciting contributions for the

                      “Real Estate Diversity PAC,” and providing a link to its purported web page

                      at “realestatediveritypac.org.” The website falsely claimed that the Real

                      Estate Diversity PAC is a “501(c)(4) political action committee[], [which is]

                      NOT required to disclose the names and addresses of their donors on IRS tax

                      documents.”;

               b.     On October 11, 2019, he sent out a mass email, in his supposed capacity as

                      the “Treasurer” of the Real Estate Diversity PAC, which embedded a letter

                      he had sent to a member of the New York real estate industry. The letter

                      falsely represented that the Real Estate Diversity PAC exists and that it was

                      a “501(c)(4) political action committee.” It also provided a link to its

                      purported web page at “realestatediveritypac.org.” The website solicited

                      funds by falsely claiming that the Real Estate Diversity PAC exists and that

                      it is a “501(c)(4) political action committee[], [which is] NOT required to

                      disclose the names and addresses of their donors on IRS tax documents.”

                      Lopez-Pierre’s email stated: “This Email Was Sent To 10,000 Black and

                      Hispanic Professionals (Lawyers, Real Estate, Medical, Finance) and


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            4,000 White Real Estate Professionals and the media.” (Emphasis in

            original);

      c.    On December 2, 2019, he sent out a mass email, in his supposed capacity as

            the “Treasurer” of the Real Estate Diversity PAC, which embedded a letter

            he had sent to a member of the New York real estate industry. The letter

            falsely represented that the Real Estate Diversity PAC exists and that it was

            a “501(c)(4) political action committee.” It also provided a link to its

            purported web page at “realestatediveritypac.org.” The website solicited

            funds by falsely claiming that the Real Estate Diversity PAC is a “501(c)(4)

            political action committee[], [which is] NOT required to disclose the names

            and addresses of their donors on IRS tax documents.” Lopez-Pierre’s email

            stated: “This Email Was Sent To 10,000 Black and Hispanic Professionals

            (Lawyers, Real Estate, Medical, Finance) and 3,000 White Real Estate

            Professionals and the media.” (Emphasis in original);

      d.    On February 25, 2020, he sent out a mass email, in his supposed capacity as

            the “Treasurer” of the Real Estate Diversity PAC, which embedded a letter

            he had sent to “Senior White Commercial Real Estate Executives.” The letter

            falsely represented that the Real Estate Diversity PAC exists and that it was

            a “501(c)(4) political action committee. It also provided a link to its

            purported web page at “realestatediveritypac.org.” The website solicited

            funds by falsely claiming that the Real Estate Diversity PAC exists and that

            it is a “501(c)(4) political action committee[], [which is] NOT required to


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            disclose the names and addresses of their donors on IRS tax documents.”

            Lopez’s email stated: “This Email Was Sent To 10,000 Black and

            Hispanic Professionals (Lawyers, Real Estate, Medical, Finance) and

            3,000 White Real Estate Professionals and the media.” (Emphasis in

            original);

      e.    On March 11, 2020, he sent out a mass email, in his supposed capacity as the

            “Treasurer” of the Real Estate Diversity PAC, which embedded a letter he

            had sent to “Commercial Real Estate Event Producers and Commercial Real

            Estate Firms” with the following subject line: “Coronavirus Inflected

            Protesters At Commercial Real Estate Events?” (Emphasis in original).

            The email provided a link to the Real Estate Diversity PAC’s purported web

            page at “realestatediveritypac.org.” The website solicited funds by falsely

            claiming that the Real Estate Diversity PAC exists and that it is a “501(c)(4)

            political action committee[], [which is] NOT required to disclose the names

            and addresses of their donors on IRS tax documents.” Lopez-Pierre’s email

            stated: “This Email Was Sent To 10,000 Black and Hispanic Professionals

            (Lawyers, Real Estate, Medical, Finance) and 3,000 White Real Estate

            Professionals and the media.”;

      f.    On March 21, 2020, he sent an email to “10,000 Black and Hispanic

            Professionals and 3,000 White Real Estate Professionals (Tri-State-New

            York)!” which provided a link to the Real Estate Diversity PAC’s purported

            web page at “realestatediveritypac.org.” The website solicited funds by


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                      falsely claiming that the Real Estate Diversity PAC exists and that it is a

                      “501(c)(4) political action committee[], [which is] NOT required to disclose

                      the names and addresses of their donors on IRS tax documents.”; and

              g.      On April 4, 2020, he sent out a mass email, in his supposed capacity as the

                      “Treasurer” of the Real Estate Diversity PAC, which embedded a letter he

                      had sent to Bisnow’s CEO. The letter provided a link to its purported web

                      page at “realestatediveritypac.org.” The website solicited funds by falsely

                      claiming that the Real Estate Diversity PAC exists and that it is a “501(c)(4)

                      political action committee[], [which is] NOT required to disclose the names

                      and addresses of their donors on IRS tax documents.” Lopez-Pierre’s email

                      stated:

                      NOTE: This email was sent to (Tri-State New York):

                      1 - 3,000 White real estate professionals (of which 1,000 are women);

                      2 - 1,000 employees of Bisnow Corporate Sponsors;

                      3 - 500 White women partners at major law/accounting firms;

                      4 - 10,000 Black and Hispanic professionals.

              (Emphasis in original).

       52.    Lopez-Pierre knew that his fraudulent scheme would be accomplished through

interstate emails because, by his own admission, he sent his emails to thousands of people in the

“Tri-State New York” area.




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IV.    LOPEZ-PIERRE HAS ENGAGED IN A PATTERN OF RACKETEERING
       ACTIVITY

       53.     Lopez-Pierre’s acts of racketeering constitute a “pattern of racketeering” within the

meaning of 18 U.S.C. § 1961(5), because they are (a) vertically related, (b) horizontally related, and

(c) they satisfy the requirement of both close-ended and open-ended continuity.

       54.     Lopez-Pierre’s crimes are horizontally related because, inter alia, (a) they are all

committed for the purpose of enriching Lopez-Pierre; (b) they have the same participant -- Lopez-

Pierre; (c) they are all committed through mass emails and/or internet solicitations; and (d) Lopez-

Pierre uses his website in his mass emails to commit his various crimes.

       55.     Lopez-Pierre’s crimes are also vertically related because (a) he was able to commit

his acts of racketeering by reason of his control over the TLP Enterprise’s affairs, and (b) all of his

criminal activity was related to the affairs of the TLP Enterprise.

       56.     Lopez-Pierre’s racketeering activity dates back to at least April of 2017, thereby

establishing closed-ended continuity. Moreover, given that Lopez-Pierre (a) was seeking to extort

Bisnow and others as late as April 2020, and (b) is still seeking contributions to the Real Estate

Diversity PAC through his website, there is also open-ended continuity because he poses a threat of

continued criminal activity.

V.     BISNOW HAS BEEN INJURED IN ITS BUSINESS AND PROPERTY

       57.     By reason of Lopez-Pierre’s racketeering activity -- particularly his threats that he

would arrange for (a) protesters to harass executives of the sponsors of Bisnow’s events by appearing

at their homes, offices and houses of worships, and (b) “recently incarcerated Black and Hispanic




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men” to disrupt prospective sponsor’s Bisnow events -- he has caused and will continue to cause

Bisnow to lose revenue and profits.

       58.     Bisnow is therefore entitled to recover (a) no less than $1 million in damages

consisting of $3 million in compensatory damages trebled pursuant to 18 U.S.C. § 1964(c), and (b)

its reasonable attorneys’ fees and expenses.

                       PLAINTIFF’S SECOND CLAIM FOR RELIEF

                                           (Trade Libel)

       59.     Plaintiff repeats and realleges each and every allegation set forth above as if fully and

completely set forth at length herein.

       60.     Defendant libeled Plaintiff by making false statements in writing to third parties

which adversely affected Plaintiff in its trade, business, and profession.

       61.     The false statements at issue -- that Plaintiff is racist and sexist -- impugn the basic

integrity and competence of Plaintiff’s business. As a consequence of Defendant’s libelous

publications, Plaintiff is entitled to monetary damages in an amount to be determined at trial, but in

no event less than $5 million.

       62.     Defendant knows that his defamatory publications are false, or at a minimum, he has

been reckless in his disregard for the truth of his statements. For example, during a telephone call

with a Bisnow employee, Lopez-Pierre admitted that “I do not think Bisnow is racist ... but I have

to feed my family.”

       63.     Plaintiff is also entitled to recover punitive damages from Defendant in an amount

to be determined at trial, but in no event less than $10 million, in that he published his defamatory

statements (a) with knowledge of their falsity and/or with wanton and reckless disregard for their


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truth; (b) motivated by hatred, ill will, spite, and/or a criminal mental state as directed at Plaintiff;

and (c) as part of a broader course of related criminal activity directed towards others.

                         PLAINTIFF’S THIRD CLAIM FOR RELIEF

                        (Tortious Interference with Business Expectancy)

        64.     Plaintiff repeats and realleges each and every allegation set forth above as if fully and

completely set forth at length herein.

        65.     Plaintiff had an expectation of economic advantage by virtue of its professional and

economic relationships with sponsors and speakers -- whose identities are trade secrets known to

Bisnow and which it will reveal to Lopez-Pierre upon the Court entering a confidentiality order.

Defendant intentionally interfered with Plaintiff’s expectation of economic advantage by wrongful

means in that his interfering conduct was criminal in violation of 18 U.S.C. § 1951. As a result of

Defendant’s intentional interference with Plaintiff’s expectation of economic advantage, Plaintiff

has been damaged in an amount to be proven at trial.

        66.     Because Defendant’s actions were intentional, willful and wanton, Plaintiff is entitled

to an award of punitive damages in an amount to be determined at trial.

        WHEREFORE, Plaintiff demands judgment against Defendant as follows:

        A.      On its First Claim for Relief for violation of the RICO statute, compensatory damages

of $1 million, then trebled to a total of $3 million, plus its reasonable attorneys’ fees and expenses;

        B.      On its Second Claim for Relief for Trade Libel, damages in an amount to be

determined at trial, but in no event less than $5 million with punitive damages in an amount no less

than $10 million;




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       C.     On its Third Claim for Relief for Tortious Interference with Business Expectancy,

damages in an amount to be determined at trial with punitive damages;

       D.     The costs and disbursements for this action; and

       E.     Such other and further relief as this Court deems just and proper.

Dated: New York, New York
       May 2, 2020

                                                    Yours, etc.,

                                                    JUDD BURSTEIN, P.C.


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